          Case 1:20-cv-11889-MLW Document 82 Filed 04/18/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 ________________________________________

 DR. SHIVA AYYADURAI,

                            Plaintiff,
 v.

 WILLIAM FRANCIS GALVIN, MICHELLE
 K. TASSINARI, DEBRA O’MALLEY, AMY
 COHEN, NATIONAL ASSOCIATION OF
 STATE ELECTION DIRECTORS, allegedly
 in their individual capacities, and WILLIAM                 Case No. 1:20-cv-11889-MLW
 FRANCIS GALVIN, in his official capacity as
 Secretary of State for Massachusetts,

                            Defendants,

 and

 TWITTER, INC.,

                     Proposed Additional
                     Defendant.
 ________________________________________


                                   NOTICE OF APPEARANCE

        Pursuant to Rule 83.5.2(a) of the Local Rules of the United States District Court for the

District of Massachusetts, notice is hereby given of the appearance of Felicia H. Ellsworth as

counsel for Twitter, Inc (Twitter). By making this appearance, Twitter in no way intends to

waive its rights to object to this Court’s exercise of personal jurisdiction, to object that this Court

is an improper venue for this litigation, or to seek a transfer, stay, or dismissal of the litigation,

and Twitter hereby expressly reserves all such arguments and defenses.
        Case 1:20-cv-11889-MLW Document 82 Filed 04/18/21 Page 2 of 3




                                   Respectfully submitted,

                                   /s/      Felicia H. Ellsworth________
                                   Felicia H. Ellsworth (BBO #665232)
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                                    HALE AND DORR LLP
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                                   Attorney for Proposed Additional Defendant
                                   TWITTER, INC.
Dated: April 18, 2021
         Case 1:20-cv-11889-MLW Document 82 Filed 04/18/21 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing

(“NEF”) on April 18, 2021.



                                               /s/ Felicia H. Ellsworth
                                               Felicia H. Ellsworth
